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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION




UNITED STATES OF AMERICA,


                      Plaintiff


v.                                                      CASE NO.      3:07CR319


BRIAN HOSKINS,


                      Defendant.



         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

       This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon

the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter

was presented to the court upon the written consent of the Defendant and counsel for the

Defendant to proceed before a United States Magistrate Judge, said consent including the

Defendant's understanding that he consented to not only having the Magistrate Judge conduct the

hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate Judge

 make necessary findings and accepting any guilty plea as may be entered that could not be

 withdrawn except for fair and just reason.


         The Defendant pled guilty to Count One of the Indictment in open court and pursuant to

 a Rule 11 inquiry. Upon consideration of the responses and statements made by the Defendant

 under oath, on the record, and based upon the written plea agreement and statement of facts

 presented, the court makes the following findings:

         1.     That the Defendant is competent to enter a plea of guilty;
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 2.   That the Defendant understands the nature of the charge against him to which his


       plea is offered;


 3.    That the Defendant understands what the maximum possible penalties are upon


       conviction of the offense charged, including any mandatory minimum periods of


       confinement, the effect of any required term of supervised release, the loss of


       various civil rights (if applicable, including the right to vote, the right to hold


       public office, the right to own and possess a firearm), the possibility of adverse


       immigration consequences (if applicable), the required imposition of a special


       assessment, forfeiture of real and/or personal property (if applicable), and


       restitution (if applicable);


 4.    That the sentencing court has jurisdiction and authority to impose any sentence


       within the statutory maximums provided, but that the court will determine the


       defendant's actual sentence in accordance with 18 U.S.C. § 3553(a) and that the


       court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a


       sentence above or below the advisory sentencing range, subject only to review by


       higher courts for reasonableness;


 5.    That the Defendant understands his right to persist in a plea of not guilty and


       require that the matter proceed to trial with all the rights and privileges attending a


       trial, including, but not limited to: the right to effective assistance of counsel; the


       right to use the power and processes of the court to compel the production of


       relevant evidence on the Defendant's behalf; the right to confront and cross-


       examine adverse witnesses; the right to present relevant evidence; the right to


       remain silent; and the right to trial by jury;
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         6.     That the Defendant understands that he is waiving any right to appeal whatever

                sentence is imposed by pleading guilty, even if the sentence is erroneous, as long

                as said sentence does not exceed the total statutory penalties provided;


         7.     That the Defendant understands all provisions of the written plea agreement


                which was reviewed in essential part with the Defendant during the proceeding;


         8.     That the plea of guilty entered by the Defendant was knowingly and voluntarily


                entered and is not the result of force or intimidation of any kind; nor is it the result


                of any promises other than the representations set forth in the plea agreement; and

         9.     That the plea of guilty entered by the Defendant was knowingly and voluntarily


                made with full knowledge of the consequences and with an independent basis in


                 fact to support said plea.


         Accordingly, the court accepted the Defendant's plea of guilty to Count One of the


Indictment and entered judgment of guilt on the subject charge. It is therefore the


recommendation of this court that its findings, including the acceptance of the Defendant's plea


of guilt and resulting judgment of guilt, be adopted.


         Let the Clerk forward a copy of this report and recommendation to the Honorable James


R. Spencer and to counsel of record.


         It is so Ordered.




                                              Dennis W. Dohnal
                                              United States Magistrate Judge

Dated:
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                                           NOTICE


       The Defendant is advised that he may file specific written objection to this report


and recommendation with the court within ten (10) days of this date. If objection is noted,


the part)' objecting must promptly arrange for the transcription of the relevant record and


file it forthwith with the court for its use in any review. Failure to object in accordance


with this notice, including the requirement for preparation of a transcription of the


relevant portions of the record, will constitute a waiver of any right to <fe novo review of the


matter and may result in adoption of the recommendation, including the finding of guilt as


entered by the magistrate judge.
